
HOOD, Judge.
The appellant did not appear in person or through counsel when this case was called for argument on the date it had been docketed for hearing, and no brief has been filed in his behalf. The appeal, therefore, is considered as having been abandoned, and accordingly the appeal is hereby dismissed. Rule VII, Sec. 4(b), Uniform Rules of the Courts of Appeal, 8 LSA-R.S. (1960 p.p.); Allen v. Cuba, La.App. 3 Cir., 125 So.2d 429, and the authorities therein cited; LeCron v. Culligan, La.App. 1 Cir., 127 So.2d 39; and Woods v. Woods, La.App. 3 Cir., 128 So.2d 796. The costs of this appeal are assessed to plaintiff-appellant. LSA-C.C.P. Art. 2164.
Appeal dismissed.
